        Case 4:23-cv-04155-YGR Document 262-4 Filed 04/19/24 Page 1 of 2




 1                           IN THE UNITED STATES DISTRICT COURT

 2                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

 3

 4    CALIFORNIA COALITION FOR WOMEN                        Case No. 4:23-CV-04155-YGR
      PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
 5    A.S.; and L.T., individuals on behalf of themselves   [PROPOSED] ORDER GRANTING
      and all others similarly situated,                    PLAINTIFFS’ MOTION FOR
 6                                                          TEMPORARY RESTRAINING
                    Plaintiffs,                             ORDER
 7
             v.
 8
      UNITED STATES OF AMERICA FEDERAL
 9    BUREAU OF PRISONS, et al.,

10                  Defendants.

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     [Proposed] Order Granting Plaintiffs’ TRO                    Case No. 4:23-CV-04155-YGR
         Case 4:23-cv-04155-YGR Document 262-4 Filed 04/19/24 Page 2 of 2




 1          This matter comes before the Court on Plaintiffs’ Notice Of Motion And Memorandum

 2   Of Points And Authorities In Support Of Motion For Temporary Restraining Order (“Plaintiffs’

 3   TRO”). Having considered the Motion and supporting declarations as well as the pleadings and

 4   materials lodged in this action, the Court finds good cause and GRANTS the Motion and Orders

 5   as follows:

 6          1)      The transfer of incarcerated persons from Federal Correctional Institute (“FCI”)

 7   Dublin is stayed pending further order of the Court. NO INCARCERATED PERSON SHALL

 8   BE TRANSFERRED OUT OF FCI DUBLIN UNTIL THIS ORDER IS LIFTED.

 9          2)      The BOP shall immediately produce all records associated with all transfers of

10   incarcerated persons out of FCI Dublin that occurred after Friday, April 12, 2024, and allow

11   Special Master Still to conduct a review of these records.

12          3)      The BOP shall maintain constitutionally appropriate conditions at FCI Dublin per

13   the guidance of Special Master Still.

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15          IT IS SO ORDERED.
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     Dated: _______________, 2024                 ______________________________________
18                                                The Honorable Yvonne Gonzalez Rogers
                                                  United States District Judge
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     [Proposed] Order Granting Plaintiffs’ TRO                        Case No. 4:23-CV-04155-YGR
